          Case 1:15-cv-00394-LY Document 28 Filed 07/19/16 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                 2016   JUL 19   j4fJ:   1Q
                                  AUSTIN DIVISION

GENEVIE ILENE MALEY AND                      §
HOLLY DROWLEY,                               §
                  PLAiNTIFFS,                §
                                             §
V.                                           §
                                                   CAUSE NO. 1:1 5-CV-00394-LY
                                             §
MINNESOTA LIFE INSURANCE                     §
COMPANY,                                     §
               DEFENDANT.                    §



                                    FINAL JUDGMENT

       Before the court is the above-styled cause of action.    On this same date, the court

rendered Findings of Fact and Conclusions of Law, by which the court concluded that Plaintiffs

state-law claims should be dismissed and Plaintiffs should take nothing by their claim for

improper denial of benefits under ERISA. Accordingly,

       IT IS ORDERED that Plaintiffs Genevie Ilene Maley and Holly Drowley's claims

against Defendant Minnesota Life Insurance Company for breach of contract and declaratory

judgment are DISMISSED with prejudice as preempted.

       IT IS FURTHER ORDERED that Plaintiffs Genevie Ilene Maley and Holly Drowley

TAKE NOTHING by their claim against Minnesota Life Insurance Company for improper

denial of benefits under ERISA.

       IT IS FURTHER ORDERED that costs are taxed against Plaintiffs Genevie Ilene

Maley and Holly Drowley.

       IT IS FURTHER ORDERED that any relief requested by any party hereto not

specifically granted herein is DENIED.
 Case 1:15-cv-00394-LY Document 28 Filed 07/19/16 Page 2 of 2




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IT IS FINALLY ORDERED that this action is hereby CLOSED.

SIGNED this           day of July, 2016.




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